Case 3:17-cv-00072-NKM-JCH Document 1032 Filed 08/26/21 Page 1 of 2 Pageid#: 17416




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                           CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                            v.                             TRANSPORATION ORDER

     JASON KESSLER, et al.,
                                                           JUDGE NORMAN K. MOON
                                       Defendants.



           This case is set for trial between October 25 to November 19, 2021, beginning at

   9:30 a.m. before Hon. Norman K. Moon, United States District Judge, at the United States

   District Courthouse in Charlottesville, Virginia.

           This day, August 26, 2021, the Court entered an Order granting Defendant Christopher

   Cantwell’s pro se motion for transportation to Charlottesville for trial. The Court has construed

   that motion as a petition for a writ of habeas corpus ad testificandum. Accordingly:

           The Warden of USP Marion is REQUESTED to have

                   Christopher Cantwell, # 00991-509

           transported to the United States District Court, 255 W. Main Street, Charlottesville,

   Virginia, so that he may be present in Court beginning on October 25, 2021 at 9:30 a.m., and

   through the close of trial.

           It is so ORDERED.




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Case 3:17-cv-00072-NKM-JCH Document 1032 Filed 08/26/21 Page 2 of 2 Pageid#: 17417




          The Clerk of Court is directed to send a certified copy of this Order to the Warden of

   USP Marion, to all counsel of record, to Cantwell, to Cantwell’s case manager at USP Marion,

   and to the U.S. Marshal’s Service.
                         26th
          Entered this          day of August, 2021.




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